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 1   NICHOLAS M. WAJDA (State Bar #259178)
     Attorney Email Address: nick@wajdalawgroup.com
 2   WAJDA LAW GROUP, APC
 3   11400 West Olympic Boulevard, Suite 200M
     Los Angeles, California 90064
 4   Telephone: (310) 997-0471
     Facsimile: (866) 286-8433
 5   Attorney for Plaintiff
 6

 7                              UNITED STATES DISTRICT COURT
 8                           SOUTHERN DISTRICT OF CALIFORNIA
 9

10    MICHAEL J. TURK,                            Case No. '18CV2704 JLS LL
11                     Plaintiff,                 COMPLAINT FOR DAMAGES
12           v.                                   1. VIOLATION OF THE TELEPHONE
                                                  CONSUMER PROTECTION ACT, 47 U.S.C.
13                                                §227 ET SEQ.
      WESTERN DENTAL SERVICES, INC.,
14                                                2. VIOLATION OF THE ROSENTHAL FAIR
                       Defendant.                 DEBT COLLECTION PRACTICES ACT,
15                                                CAL. CIV. CODE §1788 ET SEQ.
16                                                DEMAND FOR JURY TRIAL
17

18                                           COMPLAINT
19          NOW comes MICHAEL J. TURK (“Plaintiff”), by and through his attorneys, WAJDA
20
     LAW GROUP, APC (“Wajda”), complaining as to the conduct of WESTERN DENTAL
21
     SERVICES, INC. (“Defendant”) as follows:
22
                                        NATURE OF THE ACTION
23
        1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection Act
24

25   (“TCPA”) under 47 U.S.C. § 227 et seq. and the Rosenthal Fair Debt Collection Practices Act

26   (“RFDCPA”) under Cal. Civ. Code §1788 et seq., for Defendant’s unlawful conduct.
27                                     JURISDICTION AND VENUE
28
                                                     1
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 1       2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction
 2   is conferred upon this Court by 47 U.S.C. §227, 28 U.S.C. §§1331 and 1337, as the action arises
 3
     under the laws of the United States. Supplemental jurisdiction exists for the state law claim pursuant
 4
     to 28 U.S.C. §1367, because it arises out of the common nucleus of operative facts of Plaintiff’s
 5
     federal question claims.
 6

 7       3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Plaintiff resides in the

 8   Southern District of California and a substantial portion of the events or omissions giving rise to

 9   the claims occurred within the Southern District of California.
10
                                                    PARTIES
11
         4. Plaintiff is a 64 year-old consumer residing in San Diego County, California, which is
12
     located within the Southern District of California.
13
         5. Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).
14

15       6. Defendant is engaged in the business of providing dental services and collecting or

16   attempting to collect, directly or indirectly, debts owed or due using the mail and telephone from
17   consumers across the country, including consumers located in the state of California. Defendant’s
18
     principal place of business is located at 530 S. Main Street, Suite 600, Orange, California 92868.
19
         7. Defendant is a “person” as defined by 47 U.S.C. § 153(39).
20
         8. Defendant acted through its agents, employees, officers, members, directors, heirs,
21

22   successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times

23   relevant to the instant action.

24                                 FACTS SUPPORTING CAUSES OF ACTION
25       9. Plaintiff received dental services from Defendant.
26
         10. Shortly thereafter, Plaintiff experienced financial hardship and began falling behind on his
27
     monthly payments, thus incurring debt (“subject debt”).
28
                                                         2
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 1       11. Around May of 2018, Plaintiff began receiving calls to his cellular phone, (619) XXX-8857,
 2   from Defendant.
 3
         12. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and
 4
     operator of the cellular phone ending in 8857. Plaintiff is and always has been financially
 5
     responsible for the cellular phone and its services.
 6

 7       13. Defendant has used numerous phone numbers when placing calls to Plaintiff’s cellular

 8   phone, including but not limited to (619) 419-1300 and (877) 514-0172.

 9       14. Upon information and belief, the above-referenced phone numbers are regularly utilized by
10
     Defendant during its debt collection activities.
11
         15. During answered calls from Defendant, Plaintiff experiences a noticeable pause, lasting a
12
     handful of seconds in length, and has to repeatedly say “hello” before a live representative begins
13
     to speak.
14

15       16. Upon speaking with Defendant, Plaintiff was informed that Defendant was seeking to

16   collect upon the subject debt.
17       17. Plaintiff explained his inability to address the subject debt and demanded that it stop calling
18
     his cellular phone around October of 2018.
19
         18. Defendant willfully ignored Plaintiff’s demands and proceeded to continue placing phone
20
     calls to Plaintiff’s cellular phone.
21

22       19. Despite Plaintiff’s demands, Defendant continued to relentlessly place phone calls to

23   Plaintiff’s cellular phone up until the filing of this lawsuit.

24       20. Plaintiff has also received a voluminous amount of pre-recorded messages from Defendant
25   since asking it to stop calling.
26
         21. Plaintiff has received not less than 25 phone calls from Defendant since demanding that it
27
     stop contacting him.
28
                                                          3
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 1      22. Frustrated over Defendant’s conduct, Plaintiff spoke with Wajda regarding his rights,
 2   resulting in expenses.
 3
        23. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.
 4
        24. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not
 5
     limited to: invasion of privacy, aggravation that accompanies collection telephone calls, emotional
 6

 7   distress, increased risk of personal injury resulting from the distraction caused by the never-ending

 8   calls, increased usage of his telephone services, loss of cellular phone capacity, diminished cellular

 9   phone functionality, decreased battery life on his cellular phone, and diminished space for data
10
     storage on his cellular phone.
11
                COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
12
        25. Plaintiff repeats and realleges paragraphs 1 through 24 as though fully set forth herein.
13
        26. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their
14

15   cellular phone using an automatic telephone dialing system (“ATDS”) or pre-recorded messages

16   without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment
17   which has the capacity...to store or produce telephone numbers to be called, using a random or
18
     sequential number generator; and to dial such numbers.”
19
        27. Defendant used an ATDS in connection with its communications directed towards
20
     Plaintiff’s cellular phone. During answered calls from Defendant, Plaintiff experiences a noticeable
21

22   pause lasting a handful of seconds in length, and has to repeatedly say “hello” before he is

23   connected with a live representative, which is instructive that an ATDS is being utilized to generate

24   the calls. Moreover, the nature and frequency of Defendant’s contacts points to the involvement of
25   an ATDS.
26
        28. Defendant violated the TCPA by placing at least 25 phone calls to Plaintiff’s cellular phone
27
     using an ATDS and pre-recorded messages without his consent. Any consent Plaintiff may have
28
                                                        4
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 1   given to Defendant by virtue of incurring the subject debt was explicitly revoked by his demands
 2   that it cease contacting him.
 3
         29. The calls placed by Defendant to Plaintiff were regarding business transactions and not for
 4
     emergency purposes as defined by the TCPA under 47 U.S.C. § 227(b)(1)(A)(i).
 5
         30. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff for
 6

 7   at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

 8   should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

 9   entitled to under 47 U.S.C. § 227(b)(3)(C).
10
         WHEREFORE, Plaintiff, MICHAEL J. TURK, respectfully requests that this Arbitrator enter
11
     judgment in his favor as follows:
12
         a. Declaring that the practices complained of herein are unlawful and violate the
13          aforementioned statutes and regulations;
14
         b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages pursuant
15          to 47 U.S.C. §§ 227(b)(3)(B)&(C);

16       c. Awarding Plaintiff costs and reasonable attorney fees;
17       d. Enjoining Defendant from further contacting Plaintiff; and
18
         e. Awarding any other relief as this Honorable Court deems just and appropriate.
19

20         COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT

21
         31. Plaintiff restates and realleges paragraphs 1 through 30 as though fully set forth herein.
22
         32. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).
23

24       33. The subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code § 1788.2(d)

25   and (f).

26       34. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
27
                a. Violations of RFDCPA § 1788.17
28
                                                        5
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 1      35. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that “Notwithstanding any other
 2   provision of this title, every debt collector collecting or attempting to collect a consumer debt shall
 3
     comply with the provisions of Section 1692b to 1692j [of the Fair Debt Collection Practices Act
 4
     (“FDCPA”)], inclusive of, and shall be subject to the remedies in Section 1692k of, Title 15 of the
 5
     United States Code.”
 6

 7                       i. Violations of the FDCPA §1692d

 8      36. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

 9   any conduct the natural consequence of which is to harass, oppress, or abuse any person in
10
     connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring
11
     or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,
12
     abuse, or harass any person at the called number.”
13
        37. Defendant violated §1692c(a)(1), d and d(5) when it repeatedly called Plaintiff after being
14

15   notified to stop. This behavior of systematically calling Plaintiff’s phone on a systematic basis in

16   spite of his demands was harassing and abusive. The frequency and volume of calls shows that
17   Defendant willfully ignored Plaintiff’s pleas with the goal of annoying and harassing him.
18
        38. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant
19
     knew that its conduct was inconvenient and harassing to Plaintiff.
20
                            ii. Violations of the FDCPA § 1692e
21

22      39. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,

23   deceptive, or misleading representation or means in connection with the collection of any debt.”

24      40. In addition, this section enumerates specific violations, such as:
25              “The use of any false representation or deceptive means to collect or attempt to
                collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
26              §1692e(10).
27

28
                                                        6
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 1      41. Furthermore, Defendant violated §1692e and e(10) when it used deceptive means to collect
 2   and/or attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that it stop
 3
     contacting him, Defendant continued to contact him. Instead of putting an end to this harassing
 4
     behavior, Defendant placed repeated calls to Plaintiff’s cellular phone in a deceptive attempt to
 5
     force him to answer its calls and ultimately make a payment. Through its conduct, Defendant
 6

 7   misleadingly represented to Plaintiff that it had the legal ability to contact him after he explained

 8   that he could not pay and to stop calling.

 9                          iii. Violations of FDCPA § 1692f
10
        42. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or
11
     unconscionable means to collect or attempt to collect any debt.”
12
        43. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a
13
     debt by repeatedly calling Plaintiff after being notified to stop. Attempting to coerce Plaintiff into
14

15   payment by placing voluminous phone calls without his permission is unfair and unconscionable

16   behavior. These means employed by Defendant only served to worry and confuse Plaintiff.
17      44. As plead in paragraphs 20 through 24, Plaintiff has been harmed and suffered damages as
18
     a result of Defendant’s illegal actions.
19
             WHEREFORE, Plaintiff, MICHAEL J. TURK, respectfully requests that this Honorable
20
     Court enter judgment in his favor as follows:
21

22      a. Declare that the practices complained of herein are unlawful and violate the aforementioned
           statute;
23
        b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
24
        c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
25         1788.30(b);
26
        d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
27         § 1788.30(c); and

28      e. Award any other relief as the Honorable Court deems just and proper.
                                                    7
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 2
       Dated: November 29, 2018        Respectfully submitted,
 3
                                       By: /s/ Nicholas M. Wajda
 4
                                       Nicholas M. Wajda
 5                                     WAJDA LAW GROUP, APC
                                       11400 West Olympic Boulevard, Suite 200M
 6                                     Los Angeles, California 90064
                                       Telephone: (310) 997-0471
 7                                     Facsimile: (866) 286-8433
                                       Email: nick@wajdalawgroup.com
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